 Case 4:21-cr-00243-ALM-CAN Document 1 Filed 08/12/21 Page 1 of 3 PageID #: 1



                      IN THE UNITED STATES DISTRICT COURT
                                                                                 FILED
                      FOR THE EASTERN DISTRICT OF TEXAS                               AUG 1 2 2021
                                  SHERMAN DIVISION
                                                                                  Clerk, U.S. District Court
                                                                                       Texas Eastern
 UNITED STATES OF AMERICA §

 v-                          §

 SHERMAN PARKER §

                                      INDICTMENT
    THE UNITED STATES GRAND JURY CHARGES:
                                        Count One

                                                 Violation: 18 U.S.C. § 922(o)
                                                 (Possession of a Machine Gun)

        On or about July 18, 2021, within the Eastern District of Texas, SHERMAN

PARKER, defendant, did knowingly possess a firearm as defined under Title 26, United

States Code, Section 5845(b), namely a Glock, Model 27, with Glock Switch, .40 Caliber

pistol machinegun, serial number BCEM008.

        In violation of 18 U.S.C.§ 922(o).


           NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

        As a result of committing the offense charged in this Indictment, the defendant

shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. 2461, all

property used to commit or facilitate the offenses, proceeds from the offenses, and

property derived from proceeds obtained directly or indirectly from the offenses.

        a. Glock, Model 27, with Glock Switch, .40 Caliber pistol machinegun, serial

            number BCEM008; and



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Sherman Parker
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        b. Any ammunition related to the case.




                                             A TRUE BILL



                                             G XFfo JURY FOREPERSON

NICHOLAS J. GANJEI
ACTING UNITED STATES ATTORNEY



                                                 Date




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Sherman Parker
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 UNITED STATES OF AMERICA §

 v.        §        No.            4:21CR
                                          § Judge
 SHERMAN PARKER §

                                NOTICE OF PENALTY

                                        Count One

Violation: 18 U.S.C. § 922(o)

Penalty: Imprisonment for a term of not more than ten years; a fine not to exceed
               $250,000.00; or both; and supervised release of not more than three years.

Special Assessment: $100.00




Notice of Penalty - Solo Page
Sherman Parker
